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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
                v.                          )      CR. NO. 3:15-cr-240-MHT-CSC
                                            )
STEPHEN HOWARD                              )

                MOTION FOR ORDER AUTHORIZING THE DISCLOSURE
                     OF PROTECTED HEALTH INFORMATION

       Comes now the United States of America, by and through Louis V. Franklin, Sr., United

States Attorney for the Middle District of Alabama, and asks that this Court enter an order

permitting the disclosure by the Bureau of Prisons and the United States Attorney’s Office of any

and all otherwise protected health information related to the defendant to the extent that such

disclosure is necessary to respond to the defendant’s pending motion for compassionate release,

see Doc. 102.

       Respectfully submitted this the 24th day of July, 2020.

                                            LOUIS V. FRANKLIN, SR.
                                            UNITED STATES ATTORNEY



                                            /s/ Mark E. Andreu
                                            MARK E. ANDREU
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      Case 3:15-cr-00240-MHT-CSC Document 122 Filed 07/24/20 Page 2 of 2




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                     EASTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                 v.                              )       CR. NO. 3:15-CR-240-HMT-CSC
                                                 )
STEPHEN HOWARD                                   )

                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 24, 2020, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will send notification of such filing to all attorneys of

record.

                                                 Respectfully submitted,



                                                 /s/ Mark E. Andreu
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